Case 1:05-cr-10051-.]DT Document 7 Filed 08/12/05 Page 1 of 2 Page|D 9

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

UNITED STATES OF AMERICA

 

-vs- Case No. l:(}ScrlOOSl»[}l.T

DANNY BERNARD DAVIS

 

()RDER OF TEMPORARY DETENTION
PENDING HEARINGI PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for
/(,1¢":3¢{54_.;4 l )CW iep gil /Q, ‘)’J(}O§' at 521 / §pm before United States l\/lagistrate Judge
J \ ;

S. Thomas Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal
Building, l l l South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in

custody by the United States Marshal and produced i"or the hearing

Date'. August lZ,ZOOS § m l
_ J 0 Z'-'"'_--.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Lllcnot held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion ofthe government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1") are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon thejudicial officer's own motion, ifthere is a serious risk that the
defendant {a) will flee Or (b) will obstruct or attempt to obstructjustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 470 118/853 Order of Ternporary De!enllon

This document entered on the docket sh et c§m nance
with Ru\e 55 and!or 32[b) FRCrP on __ § Jli.__ _l _Qi

  
 

ENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CR-10051 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

